
ORDER
FOR THE COURT.
Considering the Petition for Interim Suspension filed by the Office of Disciplinary Counsel,
IT IS ORDERED that Michael J. Reynolds, Louisiana Bar Roll number 1126, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX, §§ 11 and 19.
/a/ Chet D. Traylor Justice, Supreme Court of Louisiana
